                                  UNITED STATES DISTRICT COURT
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RUBY J. KRAJICK
CLERK OF COURT




                                            February 1, 2022


   Via ECF and Overnight Delivery

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           Re: 1:21-cv-08116 (AKH), Alexsam, Inc. v. American Express Travel Related Services
           Company Inc


    Dear Counsel,

          I have been contacted by Judge Paul Crotty, U.S.D.J., who presided over the above-
    named case before it was reassigned to Judge Alvin K. Hellerstein, U.S.D.J., on October 15,
    2021.

            Judge Crotty informed me that it has been brought to his attention that while he presided
    over the above-referenced case he owned stock in American Express. His ownership of stock
    neither affected nor impacted his decisions in this case. However, his stock ownership may
    have required recusal under the Code of Conduct for United States Judges, and thus, Judge
    Crotty requested reassignment and directed that I notify the parties of the potential conflict.
Notice to Counsel of Record
February 1, 2022
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        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
 provides the following guidance regarding disqualification:

           [A] judge should disclose to the parties the facts bearing on
                disqualification as soon as those facts are learned, even though
                that may occur after entry of the decision. The parties may then
                determine what relief they may seek and a court (without the
                disqualified judge) will decide the legal consequence, if any,
                arising from the participation of the disqualified judge in the
                entered decision.

         If you wish to respond to Judge Crotty’s disclosure of a potential conflict in this case,
 please file your response in the above-named case. Any response will be considered without
 the participation of Judge Crotty.

                                              Sincerely,




                                              Ruby J. Krajick
                                              Clerk of Court



cc:    Hon. Paul Crotty, U.S.D. J.
       Hon. Alvin K. Hellerstein, U.S.D.J.
